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1

2

3
                                 UNITED STATES DISTRICT COURT
4

5                       FOR THE WESTERN DISTRICT OF WASHINGTON

6                                             AT SEATTLE
7

8
     Sanjay Chakravarty, Txley, Inc.,
9
     Plaintiff(s),                                     PLAINTIFF’S SECOND AMENDED
10
                                                       COMPLAINT
11
                                                       Case No. 2:20-cv-01576-MJP
12
                           v.
13
                                                       Judge Marsha Pechman
14

15   Eric Peterson, City of Burlington, Skagit
     County - State of Washington
16
     Defendant(s).                                     [Jury Trial Demanded]
17

18
                        PLAINTIFF’S SECOND AMENDED COMPLAINT
19

20   Plaintiffs Sanjay Chakravarty and Txley, Inc. (“Plaintiffs”) by its attorneys files this

21   Complaint against Defendants Eric Peterson, the City of Burlington, and Skagit County as a
22
     political subdivision of the State of Washington (“Defendants”) and alleges as follows:
23
                                     NATURE OF THE ACTION
24

25
             This is an action under 42 U.S. Code § 1983 and 42 U.S. Code § 1981 concerning
26

27        alleged unlawful discrimination on the basis of race or national origin by a local

28
     SECOND AMENDED COMPLAINT. - 1                                      CISNEROS WHEAT LEGAL PLLC
     Case No. 2:20-cv-01576-MJP                                               701 FIFTH AVENUE
                                                                                  SUITE 4265
                                                                       SEATTLE, WASHINGTON 98104-7047
                                                                           TELEPHONE: (206) 262-7381
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1      government official. This case is about a pattern of observably arbitrary and
2
       discriminatory decision making by a specific public official at different levels of local
3
       government over a period of three years.
4

5
         Plaintiffs are seeking liability and damages and note that the complaint will also
6
       contain a formal prayer at its end (see below).
7

8                                         THE PARTIES
9

10       Plaintiff Sanjay Chakravarty (“Plaintiff Chakravarty”) is an individual residing in
11
       Mount Vernon, Washington and a citizen of the state of Washington.
12

13
         Plaintiff Txley, Inc. (“Txley” pron. “Tex-lee”) is a Washington state corporation
14
       registered and doing business in Skagit County.
15

16
         Defendant Eric Peterson (“Defendant Peterson”) is an individual that on information
17
       and belief is residing within this court’s jurisdiction. Defendant Peterson is the
18

19     Facilities Coordinator for Skagit County Facilities Management.

20

21       Defendant City of Burlington is a municipal corporation situated in Washington State.

22

23       Defendant Skagit County is cited as a political subdivision of Washington State.

24
                                 JURISDICTION AND VENUE
25

26

27

28
     SECOND AMENDED COMPLAINT. - 2                                    CISNEROS WHEAT LEGAL PLLC
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1        This Court has jurisdiction over the subject matter of this action under 42 U.S. Code §
2
       1981 and 42 U.S. Code § 1983. This Court has further supplemental jurisdiction under
3
       28 U.S. Code § 1367.
4

5
         This Court has personal jurisdiction over Defendant Eric Peterson because he is
6
       domiciled in Washington State.
7

8
           Venue in this district is proper under 28 U.S.C. § 1391(b)(1) because the defendant
9

10     resides in this district and all other defendants reside in this district or a district within

11     this state.
12
                                                 FACTS
13

14                                        Dramatis Personae
15

16
       Sanjay Chakravarty              Plaintiff
17     Nupur Kohli                     Employee of Txley
       Randy Graham                    Sales representative for Txley
18
       Txley, Inc.                     Plaintiff                           Corporation
19     City of Burlington              Defendant                           Municipal Corporation
       Paul Tingeley                   Former Facilities Manager at
20                                     City of Burlington
       Bill Henkel                     Executive Director of
21
                                       Community Action in Skagit
22                                     County
       Marv Pulst                      City of Burlington’s Public
23                                     Works Director
24
       Mayor Steve Sexton              Mayor of the City of
                                       Burlington
25     Simian Brown                    City of Burlington Employee
       Bill Aslet, Joe DeGloria,       City of Burlington Council
26     Rick DeGloria, Scott            Members
27     Green, Keith Chaplin,

28
     SECOND AMENDED COMPLAINT. - 3                                       CISNEROS WHEAT LEGAL PLLC
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1      Chris Loving, James
       Stavig
2
       Skagit County                 Defendant                         Municipal Corporation
3      Kenneth Hansen                Skagit County Facilities
                                     Management Department
4      Eric Peterson                 Defendant – Skagit County
5
                                     Employee and Former City of
                                     Burlington Employee
6      Peter Browning                Skagit County Commissioner
                                     and member of Chamber of
7                                    Commerce
8      Al Jongmsa                    Skagit County Employee
       Bret Bryan                    Skagit County Facilities
9                                    Management Employee
       Walter E. Nelson              Parent corporation of Bay         Corporation
10
                                     City Supply
11     Bay City Supply               Director competitor of            Corporation
                                     Plaintiff Txley
12     Franz Johnson                 Employee of Bay City Supply
       ACE Hardware of               Bidder                            Corporation
13
       Anacortes
14

15

16        Plaintiff Sanjay Chakravarty was born in India, and moved to the United States in
17
       1988.
18

19
          For ten years Plaintiff Sanjay Chakravarty has owned and operated Plaintiff Txley,
20
       Inc., a facilities supply business operating in Western Washington. Txley filed its initial
21
       report on May 21, 2010 with an incorporation date of June 1, 2010 and was established
22

23     as a facilities supply and distribution company. Their focus is on performance,

24     reliability, and trustworthiness. They pride themselves in, “[being] an independently
25
       owned company that has continued to increase our market share every day for a reason.
26
       With our deep knowledge of the local market and our smart approach to finding the best
27

28
     SECOND AMENDED COMPLAINT. - 4                                   CISNEROS WHEAT LEGAL PLLC
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1      products and negotiating the best deals, we make sure our clients have the most positive
2
       and profitable experience available. And because we live in the communities where we
3
       do business – we are aware of the trends, which in turn provides an unprecedented
4
       understanding of the latest market conditions. When it comes to market knowledge,
5

6      Txley remains the number one resource for your JanSan & Facility needs.”

7

8         The Plaintiff’s organization employs numerous people in the region from diverse

9      backgrounds, cultures, and experiences. The Plaintiff Txley is a member of the
10
       Burlington Chamber of Commerce, Mount Vernon Chamber of Commerce; they are
11
       also members of the Skagit County Builders Association, Building Services Contractors
12
       Association.
13

14
          As part of their growth strategy for Plaintiff Txley, Plaintiff Sanjay Chakravarty
15

16     pursued public sector contracts, including the City of Burlington’s. He was successful

17     with some municipalities, but not with others. He visited many municipalities in the
18
       area. His approach was simply to ask what the procedure was and follow it. Some
19
       municipalities have bidding processes and some order items ad hoc. Plaintiff found that
20
       if he did not understand anything, he only had to ask.
21

22
                                          City of Burlington
23

24
          The Plaintiff Sanjay Chakravarty had begun approaching the City of Burlington
25

26     about their bidding process before the Defendant Eric Peterson was employed there,

27     speaking with Paul Tingeley. He had discussed the matter without making any headway
28
     SECOND AMENDED COMPLAINT. - 5                                  CISNEROS WHEAT LEGAL PLLC
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1      into how to go about submitting a bid or request for proposal. Plaintiff Sanjay
2
       Chakravarty continued to try and reach out to Paul Tingeley, who he learned had left,
3
       and thus the job remained unfilled.
4

5
          Paul Tingeley had made no promises or did anything for the Plaintiff Sanjay
6
       Chakravarty, and their interactions were limited to enquiries about what was required to
7

8      submit bids.

9

10        In February of 2017, Tim Rush (an Employee of the City of Burlington) came to

11     Plaintiff Txley’s office to purchase needed parts and told Plaintiff Sanjay Chakravarty
12
       that the City of Burlington is looking for a new Facilities Supervisor. Tim Rush further
13
       stated that he could not imagine why the city would not have an account with Plaintiff
14
       Txley as they (Txley, Inc.) have everything that the City of Burlington needed. This
15

16     visit prompted the renew interest by Plaintiff Sanjay Chakravarty in going after the City

17     of Burlington’s account on behalf of Txley, Inc.
18

19        On June 2, 2017, Plaintiff Sanjay Chakravarty went to City of Burlington office
20
       where he was informed there was a new Facilities Supervisor. The Plaintiff was excited
21
       that they could now start our relations with the City of Burlington, as that post was
22
       vacant for a while. At that stage, the front desk personnel at the city asked by Plaintiff
23

24     Sanjay Chakravarty did not know the new Facilities Supervisor’s name yet.

25

26        On June 8, 2017, members of the Burlington Fire Dept came into the Plaintiff

27     Txley’s store and purchased several items. They seemed excited to have found a local
28
     SECOND AMENDED COMPLAINT. - 6                                    CISNEROS WHEAT LEGAL PLLC
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1      supplier for soaps, squeegees etc. Three of the personnel took 30 minutes to talk with
2
       Plaintiff Chakravarty to start setting up an account. As per payment, the Fire
3
       Department mentioned that they would set up an account with the City of Burlington
4
       and that they (Plaintiff Txley) could start the invoice and billing process.
5

6
          On or around June 19, 2017, Plaintiff Sanjay Chakravarty called the City of
7

8      Burlington’s main phone line and asked to speak with their new Facilities Supervisor

9      and was put through to Defendant Eric Peterson. The Plaintiff Sanjay Chakravarty
10
       congratulated and welcomed Defendant Eric Peterson for the new position. Defendant
11
       Eric Peterson was cordial, and they had a good conversation. Plaintiff Sanjay
12
       Chakravarty introduced himself as “Jay, owner of Tulip Valley Supply, the local
13

14     supplier of facility supplies based in Burlington.” Plaintiff mentioned he would like to

15     meet soon with a face-to-face meeting.
16

17        On or around June 20, 2017, Plaintiff Sanjay Chakravarty and Randy Graham went
18
       prospecting for new customers – they went to City of Burlington Senior Center, City of
19
       Burlington Parks, City of Burlington Facilities on Sharon Ave, and then to the City Hall
20
       located at Spruce Street. At City Hall Plaintiff asked the front desk personnel if
21

22     Defendant Eric Peterson was around, to which it was indicated that Eric Peterson was

23     outside back in the parking lot trimming trees. Plaintiff Sanjay Chakravarty and Randy
24
       Graham then walked to the parking lot and introduced themselves.
25

26
          Immediately Defendant Eric Peterson acted indifferent and disinterested. Plaintiff
27
       Sanjay Chakravarty handed Defendant Eric Peterson his business card and Defendant
28
     SECOND AMENDED COMPLAINT. - 7                                    CISNEROS WHEAT LEGAL PLLC
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1      Eric Peterson looked at it and continued to perform his work with his back turned.
2
       Plaintiff Sanjay Chakravarty got the impression that under the surrounding
3
       circumstances, that the Defendant’s conduct was intentionally discourteous.
4

5
          According to Plaintiff Sanjay Chakravarty,
6

7         “He would not make any more eye contact and kept moving and walking away when I
          tried talking to him performing his tree trimming he was engaged in. The attitude was
8         ‘cold’, like ‘don’t bother me’. What is strange is when you meet someone for the first
          time, everyone takes a minute or two, even if you are extremely pressed for time to meet
9
          and shake hands with a person. Peterson was ‘far from even making eye contact’ after
10        our introduction. I felt humiliated and during our ride back to the store, Randy and
          myself were quiet in the car with loss for words, with not much to say on what just
11        happened, and why.”
12
          When the invoice from the Fire Dept was due the Plaintiff Sanjay Chakravarty went
13
       to the City Finance Dept and presented the invoice. The Finance Department Employee
14

15     looked at the invoice, saw the company name, and stated “We are not supposed to buy

16     from TVS”.
17

18     Defendant Eric Peterson slammed the door in Plaintiff Sanjay Chakravarty’s face.
19

20        The Plaintiff Sanjay Chakravarty asked the Finance Department Employee her told
21     her that she replied “Eric Peterson.” Plaintiff Sanjay Chakravarty states, “I was taken
22
       aback, as the Fire Department, Parks Department, and every Burlington employee I
23
       interacted with was excited to buy local and deal with my company. She had me wait
24

25     while she processed payment.”

26

27

28
     SECOND AMENDED COMPLAINT. - 8                                  CISNEROS WHEAT LEGAL PLLC
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1         Again, on or around June 28, 2017, Plaintiff Sanjay Chakravarty stopped into the
2
       Spruce Street location and Defendant Eric Peterson was not there.
3

4
          Then the next day, Plaintiff Sanjay Chakravarty drove to the Spruce Street location, as
5
       he wanted to take the opportunity to properly introduce Plaintiff Txley, as their last
6
       interaction was limited. Plaintiff Sanjay Chakravarty went to Defendant Eric Peterson’s
7

8      office as he had been informed it was at 633 Sharon Ave. Plaintiff Sanjay Chakravarty

9      went to that location at approximately 3:45pm – and encountered City of Burlington
10
       employee Simian Brown who was there. Plaintiff Sanjay Chakravarty asked for Defendant
11
       Eric Peterson and Simian Brown mentioned Defendant Eric Peterson was on his way back.
12
       Plaintiff Sanjay Chakravarty waited outside.
13

14
           Defendant Eric Peterson then pulled up in a City of Burlington Truck, and Plaintiff
15

16     Sanjay Chakravarty greeted him as he exited the vehicle. Defendant Eric Peterson did not

17     return the greeting and walked right by Plaintiff Sanjay Chakravarty. Plaintiff Sanjay
18
       Chakravarty called out “Eric, I wanted to follow up on our conversation…”, and in
19
       response the Defendant Eric Peterson then walked towards the door, opened the door, and
20
       slammed it in Plaintiff Sanjay Chakravarty’s face.
21

22
           Plaintiff Sanjay Chakravarty felt humiliated as a result of Defendant Eric Peterson’s
23

24     slamming the door in his face. Plaintiff Sanjay Chakravarty felt aggrieved by the

25     Defendant Eric Peterson’s implicit bias at the time but did not know what to do.
26

27

28
     SECOND AMENDED COMPLAINT. - 9                                    CISNEROS WHEAT LEGAL PLLC
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1             Plaintiff Sanjay Chakravarty followed up with the City of Burlington Parks
2
       Department Personnel shortly thereafter. While previously when Plaintiff Sanjay
3
       Chakravarty visited, the personnel had been extremely excited to have a local facility
4
       supplies provider down the street. This time, the Parks Department personnel seemed to
5

6      have a different attitude and Plaintiff Sanjay Chakravarty was told that they were directed

7      to work under Facilities on acquiring supplies. This further gave Plaintiff Sanjay
8
       Chakravarty the impression that they had been warned explicitly against doing business
9
       with him or with Plaintiff Txley.
10

11
              In September of 2019, Plaintiff Sanjay Chakravarty attended a Chamber of Commerce
12
       meeting where several members, Peter Browning (President), Mayor Steve Sexton and
13

14     Burlington Councilman Joe DiGoria were present. The meeting was on improving

15     “Burlington Downtown”. After the meeting, Plaintiff stayed back and was encouraged by
16
       Peter Browning to complain against Peterson to Mayor Sexton and Joe DiGloria, which he
17
       did.
18

19
              Shortly after the Burlington Chamber meeting, the Plaintiff Sanjay Chakravarty felt he
20
       needed to address the matter personally with Defendant Eric Peterson and be firm. Plaintiff
21

22     Sanjay Chakravarty called Defendant Eric Peterson’s cell phone. Plaintiff Chakravarty

23     mentioned to Defendant Eric Peterson that it was “high time we need to look at bidding as
24
       it is unfair to keep favoring one supplier.” The Defendant Eric Peterson hung up on
25
       Plaintiff Sanjay Chakravarty.
26

27

28
     SECOND AMENDED COMPLAINT. - 10                                   CISNEROS WHEAT LEGAL PLLC
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1          On October 24, 2019, Plaintiff Sanjay Chakravarty made a presentation before the City
2
       of Burlington City Council regarding his difficulties in simply trying to bid on the
3
       contracts, and detailing his complaints in writing.
4

5
           On October 25, 2019, the Mayor of the City of Burlington – Steve Sexton – called
6
       Plaintiff Sanjay Chakravarty in order to address the issue of why he had used the word
7

8      “discrimination”.

9

10         Plaintiff Sanjay Chakravarty and Nupur Kohli attended the meeting at City Hall and

11     were asked about the discrimination issue directly. Plaintiff Sanjay Chakravarty told
12
       Mayor Steve Sexton of the City of Burlington that it is not easy to talk about racial
13
       discrimination, but that this is certainly a factor present with Defendant Eric Peterson given
14
       how he had been treated over the phone and thereafter. Plaintiff Sanjay Chakravarty and
15

16     Nupur Kohli also both discussed the issues of favoring vendors and the Mayor Steve

17     Sexton of the City of Burlington directly said they will now look into going to bid. Mayor
18
       Steve Sexton assured Plaintiff Sanjay Chakravarty and Nupur Kohli that they would be
19
       informed about the decision, and if they go to bid that Plaintiff Txley would be notified.
20

21
           On or about December 1, 2019, Defendant Eric Peterson published the bid in the
22
       Skagit Valley Herald, a small local newspaper. Only Bay City Supply answered the bid
23

24     and won.

25

26

27

28
     SECOND AMENDED COMPLAINT. - 11                                  CISNEROS WHEAT LEGAL PLLC
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1          Defendant Eric Peterson leaves the employ of the City of Burlington on December
2
       31, 2019 under the impression that he left strictly due to budget cuts and with letters of
3
       recommendation from his former supervisor and the Mayor Steve Sexton.
4

5
           On January 2, 2020, Plaintiff Sanjay Chakravarty and Nupur Kohli went to the City
6
       Hall to inquire what was the bid updates as they had heard nothing. They were informed
7

8      there was a new Facility Supervisor Travis. Travis mentioned to Plaintiff Sanjay

9      Chakravarty that the bid was placed in December, and Bay City Supply was the participant
10
       who won the bid.
11

12
           Plaintiff Sanjay Chakravarty became furious and stormed into the Mayor’s office
13
       demanding to meet Mayor Steve Sexton immediately. At this meeting Mayor Steve Sexton
14
       placed the blame on Defendant Eric Peterson and said Defendant Eric Peterson put out the
15

16     bid in December and Defendant Eric Peterson is now “terminated” with the City of

17     Burlington.
18

19         On January 9, 2020, there is another Council Meeting of the City of Burlington. At
20
       that meeting the Public Works Director Marv Pulst – Peterson’s former supervisor –
21
       made a presentation to the City Council discussing the services of Plaintiff Sanjay
22
       Chakravarty’s direct competitor Bay City Supply. A motion was made to award the bid
23

24     and authorize procurement of custodial equipment, supplies, and services from Bay City

25     Supply.
26

27

28
     SECOND AMENDED COMPLAINT. - 12                                   CISNEROS WHEAT LEGAL PLLC
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1          Plaintiff Sanjay Chakravarty asked the Mayor Steve Sexton to act and rescind the bid
2
       as it was wrongful in the manner it was conducted since the Mayor Steve Sexton had
3
       promised in their meeting of October 25, 2019. Txley was never notified. The Mayor
4
       refused and denied he ever said that “Txley would be notified”.
5

6
           In January 2020 Plaintiff Sanjay Chakravarty called Joe DiGloria with the City of
7

8      Burlington City Council to express his concerns. Joe DiGloria expressed reticence to

9      discuss the issue due to his position.
10

11                                              Skagit County
12

13         In April 2019 Defendant Skagit County went to bid. Plaintiff Txley was awarded
14
       this contract. The Defendant Skagit County had no problems with product substitutions,
15
       incorporation timing, or other limiting factors.
16

17
           Defendant Eric Peterson left the employ of Defendant City of Burlington and
18
       entered the employ of Skagit County.
19

20
           Defendant Eric Peterson sends out a new bid emailed to Plaintiff Txley on April 23,
21

22     2020.

23

24
           Immediately thereafter, Plaintiff objects and calls Kenneth Hansen. Before

25     submitting their bids for a second time, Plaintiff Sanjay Chakravarty had a 35-minute
26     telephone call with Kenneth Hansen registering his objections and strong concerns on
27
       submitting the bid information and specific products requested.
28
     SECOND AMENDED COMPLAINT. - 13                                CISNEROS WHEAT LEGAL PLLC
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1          Artful Changing of Bid Pre-Requisites To 10 Years These changes favored Bay
2
       City Supply to the detriment of Plaintiff Txley. Txley was a nine-year and eleven-
3
       month-old business at the time. This information is available in the public record.
4

5
           Product Exceptions In 2019 Plaintiff Sanjay Chakravarty had suggested alternates
6
       that some branded alternatives contain higher volumes of chlorine toxicity than products
7

8      carried by the Defendant Skagit County. Plaintiff makes a practice of suggesting

9      alternative cost-effective solutions of similar or higher efficacy. On the bid, though
10
       under contract during 2019, purchasing decisions have demonstrated a bias and
11
       preference towards Bay City Supply lists, as above. Bay City Supply has a proprietary
12
       supply list. It is proprietary to them for the purpose of obtaining preference, and not
13

14     because of any specific cleaning or sanitary requirement. For instance, with toilet paper

15     - Bay City Supply deals in “GP”, “Solaris”, and “LoCore” branded goods, while
16
       Plaintiff deals in “CT Commercial”. Many of the supplies requested are fungible, and
17
       many are not. There is no reasonable relation to the justification for this requirement
18
       except to exclude the Plaintiff.
19

20
           ACE HARDWARE Defendant Eric Peterson invited Ace Hardware of Anacortes,
21

22     who on information and belief do not generally participate in bids, to participate in this

23     bid. The hopeless bid participation was nothing more than an artifice aimed at
24
       camouflaging the unfairness of the process towards Plaintiff. The “low-ball” bid was
25
       not a serious effort at winning the bid, but it was instead a serious effort at portraying
26
       the bid as competitive.
27

28
     SECOND AMENDED COMPLAINT. - 14                                    CISNEROS WHEAT LEGAL PLLC
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1         Defendant Eric Peterson cancels the bid. There was a new Bid No. 2 sent out on
2
       April 30, 2020.
3

4
          Plaintiff Txley delivered their bid via courier at the last possible moment in order to
5
       avoid what Plaintiff Sanjay Chakravarty suspected was ongoing collusion between
6
       Defendant Eric Peterson and Bay City Supply.
7

8
          Bid No. 2 was also rescinded and the contract between Defendant Skagit County and
9

10     Txley, Inc. was extended. Defendant Eric Peterson went ahead and began ordering on

11     behalf of Defendant Skagit County from Bay City Supply anyway.
12
                                         Inv
13                         Inv#          Date       Description                  Ck#      Total
         BAY CITY SUPPLY                    2020-
         INC               277434A          05-21   FCLY/0000307/HAND SANI       518481   $       33,49
14       BAY CITY SUPPLY                    2020-   FCLY/0000307/CUSTODIAL
         INC               277434B          06-02   SUPPLIE                      518721   $   112,50
15       BAY CITY SUPPLY                    2020-   FCLY/0000307/CUSTODIAL
         INC               277434C          06-04   SUPPLIE                      518721   $   504,95
16       BAY CITY SUPPLY                    2020-
         INC               277939           05-21   FCLY/0000307/HAND SANI       518481   $       33,49
17       BAY CITY SUPPLY                    2020-   FCLY/0000307/HAND-SANI
         INC               279926           06-15   FOAM                         518962   $   225,01
18       BAY CITY SUPPLY                    2020-
         INC               279926A          06-25   FCLY/0000307/SO# 279926      519430   $ 1 192,90
         BAY CITY SUPPLY                    2020-   FCLY/0000307/ELECTROSTATI
19       INC               279926B          07-07   C SPR                        519900   $ 2 337,05
         BAY CITY SUPPLY                    2020-   FCLY/0000307/ELECTROSTATI
20       INC               279926C          07-21   C SPR                        520182   $ 2 256,03
         BAY CITY SUPPLY                    2020-   FCLY/0000307/HAND SANI &
21       INC               279926D          07-30   SPRAY                        520701   $   105,06
         BAY CITY SUPPLY                    2020-
22       INC               279926E          09-24   FCLY/0000307                 522592   $   740,90
         BAY CITY SUPPLY                    2020-
         INC               282460           05-19   FCLY/0000307/SO#282460       519647   $   167,59
23       BAY CITY SUPPLY                    2020-   FCLY/0000307/CUSTODIAL
         INC               283161           06-02   SUPPLIE                      518721   $       81,53
24       BAY CITY SUPPLY                    2020-   FCLY/0000307/CUSTODIAL
         INC               283746           06-11   SUPPLIE                      518962   $   446,62
25       BAY CITY SUPPLY                    2020-
         INC               283746A          06-25   FCLY/0000307/SO# 283746      519430   $       16,20
26       BAY CITY SUPPLY                    2020-
         INC               283746B          08-12   FCLY/0000307                 521244   $       57,72
27       BAY CITY SUPPLY                    2020-
         INC               283746C          08-27   FCLY/0000307/SUPPLIES        521734   $       97,50
28
     SECOND AMENDED COMPLAINT. - 15                                    CISNEROS WHEAT LEGAL PLLC
     Case No. 2:20-cv-01576-MJP                                              701 FIFTH AVENUE
                                                                                 SUITE 4265
                                                                      SEATTLE, WASHINGTON 98104-7047
                                                                          TELEPHONE: (206) 262-7381
                                                                             info@wheatlegal.com
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1          BAY CITY SUPPLY                  2020-
           INC               284890         07-02   FCLY/0000307/SO#284890       519647     $   245,88
2          BAY CITY SUPPLY                  2020-
           INC               286766         08-06   FCLY/0000307                 521244     $   310,23
           BAY CITY SUPPLY                  2020-
3
           INC               288690         09-24   FCLY/0000307                 522592     $   541,33
           BAY CITY SUPPLY                  2020-
4          INC               290507         10-16   FCLY/0000307                 523456     $   156,53
           BAY CITY SUPPLY                  2020-
5          INC               290627         10-16   FCLY/0000307                 523456     $   148,48

6
                                                                                          $ 9,810.99
7

8           On information and belief, through diversions of orders in different marginal

9      categories orders with its competitor Bay City Supply instead of placing orders in good
10
       faith with the parties to the agreement, Eric Peterson, Bret Bryan, and Franz Johnson of
11
       Bay City Supply acted together in either inadvertent cooperation, or conspiracy, or both.
12

13
            The cumulative and collective impact of this pattern of being treated differently in
14
       public contracting because of his perceived national origin or background by the
15

16     Defendant Eric Peterson in his tenure of employment at Defendants City of Burlington,

17     and now Skagit County, has caused, and continues to cause, damage to each of the
18
       Plaintiffs.
19

20
            On December 21, 2020, Plaintiff Sanjay Chakravarty made a statement under
21
       penalty of perjury addressed to the Federal Bureau of Investigation requesting an
22
       investigation into the unlawful competitive practices by Walter E. Nelson and Bay City
23

24     Supply during the previous fifteen years, and naming four witnesses with personal

25     knowledge of the events.
26

27     /
28
     SECOND AMENDED COMPLAINT. - 16                                   CISNEROS WHEAT LEGAL PLLC
     Case No. 2:20-cv-01576-MJP                                             701 FIFTH AVENUE
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1                                   FIRST CLAIM FOR RELIEF
2

3      42 USCS §1981 against Defendant Eric Peterson by Plaintiff Sanjay Chakravarty
4

5          Plaintiff reincorporates and realleges paragraphs 11-54 above here.
6

7          42 U.S.C. § 1981(a) provides that “[a]ll persons within the jurisdiction of the United
8
       States shall have the same right in every State and Territory to make and enforce
9
       contracts, to sue, be parties, give evidence, and to the full and equal benefit of all laws
10
       and proceedings for the security of persons and property as is enjoyed by white citizens,
11

12     and shall be subject to like punishment, pains, penalties, taxes, licenses, and exactions of

13     every kind, and to no other.” “ ‘Make and enforce contracts’ includes the making,
14
       performance, modification, and termination of contracts, and the enjoyment of all
15
       benefits, privileges, terms, and conditions of the contractual relationship.” 42 U.S.C. §
16
       1981(b).
17

18
           Plaintiff Sanjay Chakravarty is a “person within the jurisdiction of the United
19

20     States.”

21

22         Defendant Eric Peterson subjected Plaintiff Sanjay Chakravarty to different

23     treatment when Defendant Eric Peterson learned of Plaintiff Sanjay Chakravarty’s race
24     upon meeting him.
25

26         Similarly, Defendant Eric Peterson treats Franz Johnson of Bay City Supply
27
       differently. On information and belief, Franz Johnson of Bay City Supply is white.
28
     SECOND AMENDED COMPLAINT. - 17                                    CISNEROS WHEAT LEGAL PLLC
     Case No. 2:20-cv-01576-MJP                                              701 FIFTH AVENUE
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1         Defendant Eric Peterson then discriminated against Plaintiff Sanjay Chakravarty
2
       further by creating bidding requirements aimed specifically at ensuring that the Plaintiff
3
       Txley was excluded from the bidding process.
4

5
          As a direct, legal and proximate result of the discrimination by Defendant Eric
6
       Peterson, Plaintiff Sanjay Chakravarty has lost economic opportunities and suffered
7

8      emotional pain and suffering, inconvenience, and mental anguish resulting in damages

9      in an amount to be proven at trial.
10

11                                  SECOND CLAIM FOR RELIEF
12

13      Tortious Interference with Business Expectancy Against Defendant Eric Peterson by
14
                                             Plaintiff Txley, Inc.
15

16        At the time that Defendant Eric Peterson attempted to change the bidding requirements
17
       Plaintiff Txley had a business relationship or expectancy with Skagit County that would
18
       have in all probability resulted in future economic benefit for Plaintiff Txley; Plaintiff
19

20     Txley had a contract for the supply of disinfectants and cleaning chemicals when Covid-19

21     happened, which resulted in increased use of and demand for cleaning and disinfectants
22     provided under contract with Plaintiff Txley to Skagit County, and expected to be able to
23
       fulfill these orders growing their business.
24

25
          Defendant Eric Peterson knew of the existence of the Plaintiff Txley’s contract with
26
       Skagit County;
27

28
     SECOND AMENDED COMPLAINT. - 18                                   CISNEROS WHEAT LEGAL PLLC
     Case No. 2:20-cv-01576-MJP                                             701 FIFTH AVENUE
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1         Defendant Eric Peterson intentionally induced or caused the termination of the business
2
       relationship or expectancy; Defendant Skagit County “split” the contract giving the orders
3
       to the same supplier Defendant Eric Peterson had given preference to in the past at the City
4
       of Burlington.
5

6
          Defendant Eric Peterson's interference was for the improper purpose of racial
7

8      discrimination or some other improper purpose, or by the improper means of adjusting

9      bidding requirements, and that the pattern of discriminatory conduct was a proximate cause
10
       of economic damages and lost profits to Plaintiff Txley.
11

12
                                   THIRD CLAIM FOR RELIEF
13

14
             42 USCS §1983 against Defendant City of Burlington by Plaintiff Sanjay
15
                                             Chakravarty
16

17
          Plaintiff alleges that Defendant Eric Peterson violated Plaintiff Sanjay Chakravarty’s
18
       federal rights, and that the City of Burlington should be liable for the acts and omissions
19

20     of Mayor Steve Sexton and the City Council of the City of Burlington.

21

22        The City Council of the City of Burlington had a choice about whether to

23     characterize the presentation given by Plaintiff Sanjay Chakravarty as a commercial
24     pitch in the minutes of the meeting, or whether to ignore the specific verbal mention of
25
       discrimination in Plaintiff Sanjay Chakravarty’s presentation and the written mention of
26
       Defendant Eric Peterson in the written complaint he submitted contemporaneously.
27

28
     SECOND AMENDED COMPLAINT. - 19                                  CISNEROS WHEAT LEGAL PLLC
     Case No. 2:20-cv-01576-MJP                                            701 FIFTH AVENUE
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1         Mayor Steve Sexton is the final policy maker and was acting in his official
2
       policymaking authoritative capacity when he willfully disregarded Plaintiff Sanjay
3
       Chakravarty’s allegations of racial discrimination.
4

5
          Plaintiff Sanjay Chakravarty was unable to participate in the bid, and it was awarded
6
       without competitive bidding to Bay City Supply. This occurred as a direct result of
7

8      Mayor Steve Sexton’s policy decision not to inform Plaintiff Sanjay Chakravarty despite

9      earlier assurances to Plaintiff Sanjay Chakravarty by Mayor Steve Sexton that he would.
10

11        Mayor Steve Sexton and the City Council knew of Plaintiff Sanjay Chakravarty’s
12
       allegations of discrimination because the Plaintiff told them and made a presentation on
13
       that basis to the City Council which included a written statement specifically mentioning
14
       the Defendant Eric Peterson, though with his name misspelled. The Plaintiff Sanjay
15

16     Chakravarty also discussed the matter many times with Mayor Steve Sexton.

17

18        The Mayor and the City Council acquiesced to the Defendant Eric Peterson’s

19     discriminatory and exclusionary conduct by simply ignoring it and/or refusing to
20
       investigate and/or refusing to rescind the bid.
21

22        Somewhat awkwardly, both Plaintiff Sanjay Chakravarty and Defendant Eric
23
       Peterson have been damaged by the failure to investigate the allegations made of race-
24
       based discrimination. The allegations, whether true or not, deserved to have been
25

26     investigated. If they were not true, then Defendant Eric Peterson deserved to have his

27     name cleared. If they were true, Plaintiff Sanjay Chakravarty deserved to have his rights
28
     SECOND AMENDED COMPLAINT. - 20                                 CISNEROS WHEAT LEGAL PLLC
     Case No. 2:20-cv-01576-MJP                                           701 FIFTH AVENUE
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1      to participate in the bidding process free from discrimination vindicated. Disregarding
2
       constitutional rights creates a lacuna.
3

4
           As a direct legal and proximate result of Mayor Steve Sexton and the City of
5
       Burlington’s City Council’s deliberate indifference to allegations of racial
6
       discrimination, both parties have been damaged by the City of Burlington.
7

8
                                   FOURTH CLAIM FOR RELIEF
9

10
              Breach of contract by Defendant Skagit County Against Plaintiff Txley
11

12
           On April 10, 2019, Plaintiff Txley and Defendant Skagit County entered into a
13

14     Vendor Services Agreement by which Plaintiff provided services/products up to a

15     maximum sum of $40,000.00. This amount was later increased by $8,000.00 on March
16     20, 2020.
17

18         Plaintiff Txley has duly performed all of its obligations and duties under the
19
       contract. By “splitting the contract” and not ordering certain marginal product
20
       categories, and instead ordering them from their competitor Bay City Supply anyway,
21

22     Defendant Skagit County has breached the contract by bypassing the ordinary bidding

23     process to “split the contract” and refusing to renew or order products it carries and
24     stocks under its agreement.
25

26

27

28
     SECOND AMENDED COMPLAINT. - 21                                  CISNEROS WHEAT LEGAL PLLC
     Case No. 2:20-cv-01576-MJP                                            701 FIFTH AVENUE
                                                                               SUITE 4265
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1           As a result of Defendant’s breach of contract, Plaintiff Txley has been damaged in
2
        an amount of $3,924.39 in lost profits, which is calculated as the marginal value of sales
3
        of products valued at $9,810.99 to Bay City Supply.
4

5                                      PRAYER FOR RELIEF

6
     WHEREFORE, Plaintiff respectfully requests that this Court enter a judgment against
7
     Defendants, granting Plaintiff the following relief:
8

9
           The entry of judgment in favor of the Plaintiff Sanjay Chakravarty on the 42 USC
10

11
        §1981 against Defendant Eric Peterson with punitive statutory damages as permitted by

12      statute and attorneys costs and fees;
13

14         The entry of judgment in favor of the Plaintiff Txley against Defendant Eric Peterson
15      on the tortious interference with business expectancy claim;
16

17         The entry of judgment in favor of Plaintiff Sanjay Chakravarty in his 42 USCS §1983
18
        claim against Defendant City of Burlington with attorneys’ costs and fees as permitted
19
        by statute;
20

21
           The entry of judgment in favor of the Plaintiff Txley against Defendant Skagit County
22
        in its breach of contract claim and the award of the requested damages in the amount of
23

24      no less than $9,810.99; and

25

26         Such other relief as the Court deems just and proper.

27

28
     SECOND AMENDED COMPLAINT. - 22                                     CISNEROS WHEAT LEGAL PLLC
     Case No. 2:20-cv-01576-MJP                                               701 FIFTH AVENUE
                                                                                  SUITE 4265
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1

2
     Dated: 2nd day of April 2021
3    Respectfully submitted,

4

5
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6                                           CISNEROS WHEAT LEGAL PLLC
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7                                           Seattle, Washington 98104-7047
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                                            jeff@wheatlegal.com
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     SECOND AMENDED COMPLAINT. - 23                      CISNEROS WHEAT LEGAL PLLC
     Case No. 2:20-cv-01576-MJP                                701 FIFTH AVENUE
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